

People v Bautista (2023 NY Slip Op 51085(U))



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People v Bautista (Radanis)


2023 NY Slip Op 51085(U)


Decided on October 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., Tisch, Michael, JJ.



570274/18

The People of the State of New York, Respondent,
againstRadanis Bautista, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Jeffrey Rosenblueth, J. at plea, Jeffrey M. Zimmerman, J. at sentencing), rendered March 20, 2018, convicting her, upon her plea of guilty, of driving while intoxicated and leaving the scene of an incident without reporting, and sentencing her, inter alia, to a fine of $1,000.




Per Curiam.
Judgment of conviction (Jeffrey Rosenblueth, J. at plea, Jeffrey M. Zimmerman, J. at sentencing), rendered March 20, 2018, affirmed.
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 16, 2023









